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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


ASUS TECHNOLOGY LICENSING INC.
AND CELERITY IP, LLC,

                                Plaintiffs,
                                                      Civil Action No. 2:23-cv-488
                     v.

VERIZON COMMUNICATIONS INC.
AND CELLCO PARTNERSHIP D/B/A                          JURY TRIAL DEMANDED
VERIZON WIRELESS,

                                Defendants.




                                     ORIGINAL COMPLAINT



            Plaintiffs ASUS Technology Licensing Inc. ("ATL") and Celerity IP, LLC ("Celerity")

(collectively, "Plaintiffs") hereby submit this Complaint for patent infringement against

Defendants Verizon Communications, Inc. and Cellco Partnership D/B/A Verizon Wireless

(collectively, "Verizon" or "Defendants") and state as follows:

                                    NATURE OF THE ACTION

            1.    Verizon has infringed and continues to infringe, contribute to the infringement of,

and/or actively induce others to infringe, U.S. Patent No. 10,951,359 ("the '359 Patent" or

"Patent-In-Suit") (attached hereto as Exhibit A). Plaintiffs thus file this Complaint seeking a

judgment of and relief for patent infringement by Verizon.

                                              THE PARTIES

            2.    Plaintiff ASUS Technology Licensing Inc. ("ATL") is Taiwanese corporation,

with its principal place of business located at No. 115, Li-De Rd., Beitou District, Taipei, Taiwan,



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R.O.C. ATL was established in April 2022 by ASUSTeK Computer Inc. ("ASUSTeK") to

continue ASUSTeK's long history of development in and contributions to the field of wireless

communication technologies since 2000. ATL's mission includes active development of 3G, 4G,

and 5G wireless communication technologies, as well as management of an innovative patent

portfolio concerning such technologies which has brought abounding contributions to the industry

through standards contributions and licensing. ATL is the owner by assignment of patents,

originally owned by ASUSTeK, that are critically important to 3G, 4G, and 5G technologies.

Regarding the present litigation, ATL is the owner by assignment of the Patent-In-Suit.

           3.   Plaintiff Celerity IP, LLC ("Celerity") is a limited liability company organized and

existing under the laws of Texas, with its principal place of business located at 7160 Dallas

Parkway, Suite 235, Plano, Texas 75024. Celerity has partnered with ATL to assist with the

licensing and enforcement of ATL's patents, including in the present litigation. Celerity is the

exclusive licensee of the Patent-In-Suit. While Celerity is the exclusive licensee of the Patent-In-

Suit, patent owner ATL has agreed to join as a Plaintiff in the present litigation, including to ensure

compliance with 35 U.S.C. § 281. See Lone Star Silicon Innovations LLC v. Nanya Technology

Corp., 925 F.3d 1225 (Fed. Cir. 2019).

           4.   Defendant Verizon Communications Inc. ("VCI") is a corporation organized under

the laws of Delaware. Since December 15, 1999, VCI has been registered to do business in Texas

under Texas SOS file number 0012992106. VCI may be served through its registered agent for

service, CT Corporation System, 350 N. Saint Paul St., Dallas, Texas 75201.

           5.   Defendant Cellco Partnership d/b/a Verizon Wireless ("Verizon Wireless") is a

partnership organized and existing under the laws of Delaware. Verizon Wireless is identified by

the Texas Secretary of State as having an "ACTIVE" right to transact business in Texas under

Texas taxpayer number 12233728893. Verizon Wireless may be served through its registered




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agent for service, The Corporation Trust Company, located at 1209 Orange Street, Wilmington,

Delaware 19801. Verizon Wireless is a direct or indirect subsidiary of VCI.

                                 JURISDICTION AND VENUE

           6.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and 1338,

as this action arises under the patent laws of the United States (35 U.S.C. §§ 1 et seq.).

           7.   Each Defendant is subject to this Court's personal jurisdiction consistent with the

principles of due process and/or the Texas Long Arm Statute.

           8.   Personal jurisdiction exists generally over the Defendants because each Defendant

has sufficient minimum contacts and/or has engaged in continuous and systematic activities in the

forum as a result of business conducted within Texas, including in the Eastern District of Texas.

Personal jurisdiction also exists over each Defendant because each, directly or through

subsidiaries, makes, uses, sells, offers for sale, imports, advertises, makes available, and/or

markets products and/or services within Texas, including in the Eastern District of Texas, that

infringe one or more claims of the Patents-in-Suit. Further, on information and belief, Defendants

have placed or contributed to placing infringing products and/or services into the stream of

commerce knowing or understanding that such products and/or services would be sold and used

in the United States, including in this District. Defendants are each registered or authorized to do

business in Texas and maintain an agent authorized to receive service of process within Texas.

           9.   Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§ 1391(b)-

(c) and/or 1400(b), including but not limited to because Verizon has committed acts of

infringement in this District and has a regular and established place of business in this District. By

way of example and without limitation, Verizon makes, uses, sells, offers to sell, and/or imports

products and/or services that are accused of infringing the Patents-In-Suit into and/or within this

District and maintains a permanent and/or continuing presence within this District.




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           10.   For example, Verizon operates one or more wireless telecommunications networks,

including but not limited to wireless networks doing business under the brand names "Verizon"

and "TracFone Wireless" (collectively, the "Verizon Wireless Networks"). The Verizon Wireless

Networks include network infrastructure and provide wireless coverage throughout the United

States, including within the Eastern District of Texas.

           11.   Verizon also advertises in the Eastern District of Texas, including but not limited

to advertising the geographic coverage of the Verizon Wireless Networks within this District.

By way of example and without limitation, Verizon's website provides a "Wireless coverage map"

that advertises Verizon's current 4G and 5G wireless coverage in and around Marshall, Texas.




See, e.g., https://www.verizon.com/coverage-map/ (last visited October 18, 2023).

           12.   Verizon also operates numerous brick and mortar retail stores in the Eastern District

of Texas. These retail stores are physically located within this District, are regular and established

places of business of Verizon, and are used by Verizon to actively market and sell services for the

Verizon Wireless Networks that infringe the Patents-In-Suit. By way of example and without

limitation, Verizon's website provides an "Find a Verizon store" feature that shows the locations

of such Verizon retail stores within this District.




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See, e.g., https://www.verizon.com/stores/ (last visited October 18, 2023).

           13.   By way of example and without limitation, Verizon maintains brick and mortar

retail stores in this District located, among other places, in Marshall (e.g., 1111 E Grand Ave.,

Marshall, TX 75670; and 1006 East End Boulevard N., Suite A, Marshall, Texas 75670),

Longview (e.g., 500 E Loop 281, Longview, TX 75605; 301 W Loop 281, Longview, TX 75605;

and 2414 Gilmer Rd, Longview, TX 75604), Tyler (e.g., 1016 W Southwest Loop 323, Tyler, TX

75701; 8988 S Broadway Ave, Tyler, TX 75703; 3816 Hwy 64 W, Tyler, TX 74704; 3101 Shiloh

Rd, Tyler, TX 75707; and 6874 S Broadway Ave, Tyler, TX 75703), Beaumont (e.g., 4125 Dowlen

Rd, Beaumont, TX 77706; and 860 Interstate 10 S, Beaumont, TX 77707), Lufkin (e.g., 2002 S.

First Street, Lufkin, TX 75901), Sherman (e.g., 3133 N USX Hwy 75, Sherman, TX 75090),


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Texarkana (e.g., 3902 Saint Michael Dr, Texarkana, TX 75503; and 404 Walton, Texarkana, TX

75501), Plano (e.g., 741 N Central Expy, Plano, TX 75075), McKinney (e.g., 2035 N Central

Expy, Mckinney, TX 75070; and 3610 W University Dr, Mckinney, TX 75071), and Frisco (e.g.,

2330 Preston Road, Suite 500, Frisco, TX 75034; 5725 Eldorado Pkwy, Frisco, TX 75033; 8049

Preston Rd, Frisco, TX 75034; and 1275 US Highway 380, Frisco, TX 75033). See, e.g.,

https://www.verizon.com/stores/ (last visited October 18, 2023).

           14.   Verizon has numerous employees who work in Texas, including within the Eastern

District of Texas. In addition to its many retail stores in Texas and in this District, Verizon also

has corporate offices in Irving, Texas and Houston, Texas.

           15.   Verizon has solicited business in the Eastern District of Texas, has transacted

business within this District, and has attempted to drive financial benefit from the residents of this

District, including benefits directly related to Verizon's infringement of the Patents-In-Suit.

           16.   In other recent actions, Verizon has either admitted or not contested that the Eastern

District of Texas is a proper venue for patent infringement actions against it. See, e.g., Verizon's

Answer and Counterclaims (Dkt. No. 20), Cobblestone Wireless, LLC v. T-Mobile USA, Inc., T-

Mobile US Inc., Case No. 2:22-cv-00477-JRG-RSP (Lead Case), Cobblestone Wireless, LLC v.

Cellco Partnership d/b/a Verizon Wireless, Case No. 2:22- cv-00478-JRG-RSP (Member Case).

           17.   Defendants are properly joined under 35 U.S.C. § 299(a) because, on information

and belief, Defendants commonly and/or jointly make, use, sell, offer to sell, and/or import the

Accused Instrumentalities (defined below) such that at least one right to relief is asserted against

Defendants jointly, severally, and in the alternative with respect to or arising out of the same

transaction, occurrence, or series of transactions or occurrences relating to the making, using,

selling, offering to sell, and/or importing into the United States of the same Accused

Instrumentalities, and such that questions of fact common to all Defendants will arise in this action.




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                                      THE PATENT-IN-SUIT

           18.   U.S. Patent No. 10,951,359 ("the '359 Patent" or "Patent-In-Suit") was duly and

legally issued on March 16, 2021, for an invention titled, "Method and Apparatus For Providing

Control Resource Set Configuration In A Wireless Communication System."

           19.   Plaintiffs own all rights to the Patent-In-Suit that are necessary to bring this action,

including all rights to sue for infringement and to recover past and future damages. Celerity is the

exclusive licensee of the Patent-In-Suit, and ATL is the owner by assignment of the Patent-In-Suit.

Patent owner ATL has voluntarily joined as a Plaintiff in this litigation.

           20.   Verizon is not currently licensed to practice the Patent-In-Suit.

           21.   The Patent-In-Suit is valid and enforceable.

           22.   Verizon has had knowledge and notice of the Patent-In-Suit, and its infringement

thereof, at least since February 2, 2023, when Plaintiffs provided Verizon access to claim charts

evidencing Verizon's infringement of the Patent-In-Suit.

                 PLAINTIFFS' COMPLIANCE WITH THE ETSI IPR POLICY
                       AND DEFENDANTS' FAILURE TO COMPLY

           23.   The European Telecommunications Standards Institute ("ETSI") is an independent,

non-profit standard setting organization ("SSO") that produces globally-accepted standards in the

telecommunications industry. In addition to its own activities, ETSI is also one of several SSOs

that are organization partners of the Third Generation Partnership Project ("3GPP"), which

maintains and develops globally applicable technical specifications, including for 3G, 4G, and 5G

wireless communication technologies. ETSI and its members have developed global standards

that ensure worldwide interoperability between wireless networks, network operators, and devices.

           24.   ETSI has developed and promulgated an IPR Policy, which is intended to strike a

balance between the need for open standards on the one hand, and the rights of IPR owners on the

other hand. Clause 15.6 of the ETSI IPR Policy defines the term "ESSENTIAL" to mean that

"it is not possible on technical (but not commercial) grounds, taking into account normal technical

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practice and the state of the art generally available at the time of standardization, to make, sell,

lease, otherwise dispose of, repair, use or operate EQUIPMENT or METHODS which comply

with a STANDARD without infringing that IPR." ETSI IPR Policy § 15.6 (Nov. 30, 2022).

           25.   In an abundance of caution and to ensure their compliance with ETSI's IPR Policy,

the Plaintiffs informed Verizon that they were prepared to grant Verizon an irrevocable license to

the Plaintiffs' patents that relate to 3G, 4G, and/or 5G wireless technologies, including to the

Patent-In-Suit, on license terms that are Fair, Reasonable, and Non-Discriminatory ("FRAND").

The ETSI IPR Policy entitles a FRAND license to implementers that "MANUFACTURE …, sell,

lease, or otherwise dispose of, … repair, use, or operate EQUIPMENT," and/or "use METHODS":




ETSI IPR Policy § 6.1 (Nov. 30, 2022).

           26.   Not later than August 25, 2022, the Plaintiffs sent Verizon correspondence

initiating Plaintiff's good faith efforts to license their patents to Verizon on FRAND terms.

           27.   Over the following months, the Plaintiffs' representatives corresponded with

Verizon representatives on several occasions.         During such correspondence, the Plaintiffs'

representatives provided, in good faith, materials concerning their patents and technical details

evidencing the use of their patents, including the Patent-In-Suit. For example, not later than

February 2, 2023, the Plaintiffs' representatives provided Verizon credentials to access an online


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data room containing numerous example claim charts evidencing the use of Plaintiffs' patents,

including the Patent-In-Suit.

           28.   The Plaintiffs' representatives have provided Verizon multiple opportunities to

license the Plaintiffs' patents on FRAND terms.

           29.   To date, Verizon has not reciprocated the Plaintiffs' good faith efforts to negotiate

a FRAND license. Verizon has failed to negotiate in good faith. Verizon has instead declined to

take a license to the Plaintiffs' valuable intellectual property, including the Patent-In-Suit.

           30.   Verizon has operated and continues to operate the Verizon Wireless Networks

without a license to the Plaintiffs' patents, including the Patent-In-Suit.            Given Verizon's

unwillingness to license the Plaintiffs' patents, or to cease its infringement, the Plaintiffs have filed

this lawsuit for the purpose of protecting their patent rights in the United States.

           31.   The parties' licensing negotiations have been unsuccessful because Verizon has

refused to engage in a good faith licensing discussion concerning the Plaintiffs' valuable patents.

                          GENERAL INFRINGEMENT ALLEGATIONS

           32.   Verizon has imported/exported into/from the United States, manufactured, used,

marketed, offered for sale, and/or sold in the United States, the Verizon Wireless Networks that

infringe the Patent-In-Suit. For example, and as will be outlined further below, the Verizon

Wireless Networks infringe the Patent-In-Suit in providing wireless services.

           33.   Verizon introduced 4G technology (also sometimes referred to as "LTE" or "4G

LTE") to the Verizon Wireless Networks more than decade ago, launching in "38 major

metropolitan areas and in more than 60 commercial airports coast to coast" as early as 2010.

https://www.verizon.com/about/news/vzw/2010/12/pr2010-11-30a (last visited October 18, 2023)

(initial launch including, among other locations, the Dallas-Ft. Worth Metroplex). By October

2012, Verizon announced that its 4G LTE service would be available to "more than 245 million

people       throughout    the   US"     in    "417     markets     across    the    United       States."


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 https://www.verizon.com/about/news/press-releases/verizon-wireless-launches-400th-4g-lte-

 market-oct-18-two-months-ahead-schedule (last visited October 18, 2023). As of the filing of this

 Complaint, 4G coverage remains active in the Verizon Wireless Networks.                See, e.g.,

 https://www.verizon.com/coverage-map/ (last visited October 18, 2023).

            34.   Verizon began adding 5G technology to the Verizon Wireless Networks at least by

 2019, rolling out 5G wireless coverage to various cities throughout 2019, including in the Dallas

 metropolitan area starting by at least October 25, 2019. See https://www.verizon.com/about/our-

 company/5g/when-was-5g-introduced (last visited October 18, 2023). Verizon continued to grow

 its 5G coverage across the Verizon Wireless Networks, such that as of December 2022, Verizon

 advertised that its "5G Ultra Wideband" network coverage was "now available to more than 175

 million people" across the US. https://www.verizon.com/about/news/verizon-continues-deploy-

 5g-ultra-wideband-faster (last visited October 18, 2023).      Shortly before the filing of this

 Complaint, on June 21, 2023, Verizon highlighted its 5G Ultra Wideband coverage across Texas.

 See https://www.verizon.com/about/news/verizon-lights-5g-ultra-wideband-across-texas          (last

 visited October 18, 2023) (highlighting coverage throughout the Eastern District of Texas,

 including, for example, in Sherman, Bells, Collinsvile, Denison, Annona, and Jacksonville).

            35.   As of the filing of this Complaint, the Verizon Wireless Networks continue to

 actively employ both 4G and 5G technologies throughout the United States, including in the

 Eastern District of Texas. In many geographic locations, the Verizon Wireless Networks employ

 both 4G and 5G technologies concurrently, allowing end-user devices to utilize the best connection

 that the device is capable of supporting. Verizon's website provides a map showing the geographic

 coverage for 4G and 5G within the Verizon Wireless Networks:




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 See, e.g., https://www.verizon.com/coverage-map/ (last visited October 18, 2023).

            36.   The Verizon Wireless Networks employ what Verizon refers to as both "5G" and

 "5G Ultra Wideband" variants of 5G. As Verizon has explained: "Verizon offers two types of 5G

 service: 5G Ultra Wideband and 5G Nationwide. 5G Ultra Wideband is Verizon's fastest 5G.

 Compared to typical 4G speeds, it runs up to 10x as fast, and responds quicker. Coverage is now

 expanding to more parts of the country (see map above). 5G Nationwide runs alongside 4G LTE,

 and delivers a similar experience to Verizon's 4G LTE network to provide a widely available 5G

 network that offers convenience and reliability." https://www.verizon.com/coverage-map/ (last

 visited October 18, 2023). As used in this Complaint, the term "5G" is intended to encompass all

 variants of 5G used by the Verizon Wireless Networks.

            37.   Verizon has frequently touted the benefits of 4G and 5G technologies in the Verizon

 Wireless Networks. For example, as Verizon presently states on its website: "5G can provide a

 faster, more responsive, and overall better experience." https://www.verizon.com/coverage-map/

 (last visited October 18, 2023). Verizon asserts that "5G can provide high speeds, low latency and

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 massive capacity, offering the potential to change what you experience with your mobile device,

 and much more" and that "5G should help revolutionize industries and can provide immediate

 impact for customers. 5G could help make businesses more efficient and give consumers access

 to more information faster than ever before. It can help enable connected cars and lead to new fan

 experiences at stadiums. It could allow for new student experiences to invigorate education and

 support artificial intelligence (AI) in public safety. And it can enable advanced gaming and esports

 experiences." https://www.verizon.com/about/our-company/5g/what-5g (last visited October 18,

 2023). Verizon has likewise in the past advertised the benefits of 4G in the Verizon Wireless

 Networks, including in particular during periods when that was the leading technology at the time.

            38.   Verizon has directly and indirectly infringed, and continues to directly and

 indirectly infringe, each of the Patent-In-Suit by engaging in acts constituting infringement under

 35 U.S.C. § 271(a), (b), and/or (c), including but not limited to making, using, selling and offering

 to sell, in this District and elsewhere in the United States, and importing into and exporting from

 the United States, products and/or services that infringe the Patent-In-Suit.

            39.   Verizon has directly infringed and continues to directly infringe the Patent-In-Suit,

 as provided in 35 U.S.C. § 271(a), including at least by Verizon making, using, selling, offering to

 sell, and/or importing the Verizon Wireless Networks. For example, and as will be outlined further

 below, the Verizon Wireless Networks infringe the Patent-In-Suit in providing wireless services.

            40.   Verizon has also indirectly infringed and continues to indirectly infringe the Patent-

 In-Suit, as provided in 35 U.S.C. § 271(b), including at least by inducing infringement by others,

 such as Verizon's customers and end-users, in this District and elsewhere in the United States,

 to use the Verizon Wireless Networks in manners that infringe the Patent-In-Suit. For example,

 Verizon's customers and end-users directly infringe via their use of the Verizon Wireless

 Networks, infringing the Patent-In-Suit. Verizon induces such direct infringement through its

 affirmative acts of making, using, selling, offering to sell, and/or importing the Verizon Wireless


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 Networks, as well as by advertising its wireless network technologies and providing instructions,

 documentation, and other information to its customers and end-users to encourage and teach them

 how to use the infringing wireless network technologies, including but not limited to by Verizon

 providing in-store and online technical support, marketing materials, product manuals,

 advertisements, and other product documentation. Verizon performs these affirmative acts with

 knowledge of the Patent-In-Suit and with the intent, or willful blindness, that the induced acts

 directly infringe the Patent-In-Suit.

            41.    Verizon has also indirectly infringed and continues to indirectly infringe the Patent-

 In-Suit, as provided by 35 U.S.C. § 271(c), by contributing to direct infringement committed by

 others, such as Verizon's customers and end-users, in this District and elsewhere in the United

 States. Verizon's affirmative acts of selling and offering to sell wireless services in this District

 and elsewhere in the United States, and causing the Verizon Wireless Networks to be

 manufactured, used, sold, and offered for sale, contribute to Verizon's customers and end-users

 use of the Verizon Wireless Networks, such that the Patent-In-Suit are directly infringed. The

 accused components in the Verizon Wireless Networks are material to the inventions claimed in

 the Patent-In-Suit, are not staple articles or commodities of commerce, have no substantial non-

 infringing uses, and are known by Verizon to be especially made or adapted for use in the

 infringement of the Patent-In-Suit. Verizon performs these affirmative acts with knowledge of the

 Patent-In-Suit and with the intent, or willful blindness, that they cause direct infringement of the

 Patent-In-Suit.

            42.    Verizon's infringement of the Patent-In-Suit has caused damage to the Plaintiffs.

 The Plaintiffs are entitled to recover from Verizon the damages sustained by the Plaintiffs as a

 result of Verizon's wrongful acts in an amount subject to proof at trial.

            43.    Verizon's infringement of the Patent-In-Suit has been and continues to be willful.

 Verizon has had knowledge and notice of the Patent-In-Suit, and its infringement thereof, at least


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 since February 2, 2023, when Plaintiffs provided Verizon access to claim charts evidencing

 Verizon's infringement of the Patent-In-Suit. Despite this, Verizon continues without license to

 make, use, sell, offer to sell, and/or import products and/or services that infringe the Patent-In-

 Suit, including the Verizon Wireless Networks, thereby willfully continuing Verizon's

 infringement.

            44.   In the interest of providing detailed averments of infringement, the Plaintiffs below

 demonstrate infringement for at least one claim of the Patent-In-Suit. However, the exemplary

 claims and exemplary mappings provided herein should not be considered limiting, and additional

 claims and mappings will be disclosed per the Court's rules relating to infringement contentions.

                      COUNT I: INFRINGEMENT OF THE '359 PATENT

            45.   Plaintiffs incorporate by reference the preceding paragraphs as though fully set

 forth herein.

            46.   U.S. Patent No. 10,951,359 ("the '359 Patent" or "Patent-In-Suit") was duly and

 legally issued on March 16, 2021, for an invention titled, "Method and Apparatus For Providing

 Control Resource Set Configuration In A Wireless Communication System."

            47.   Plaintiffs own all rights to the '359 Patent that are necessary to bring this action.

            48.   Verizon is not currently licensed to practice the '359 Patent.

            49.   Verizon infringes, contributes to the infringement of, and/or induces infringement

 of the '359 Patent by making, using, selling, offering for sale, exporting from, and/or importing

 into the United States the Verizon Wireless Networks.

            50.   For example, the Verizon Wireless Networks infringe at least claim 1 of the '359

 Patent in providing 5G wireless services. For example, and to the extent the preamble is limiting,

 the Verizon Wireless Networks practice a method of a network node. For example, the Verizon

 Wireless Networks practice a method of a network node in providing 5G wireless services.




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 On information and belief, this functionality requires the Verizon Wireless Networks in their

 entirely assembled form, as specifically provisioned and operated by Verizon.

            51.   The Verizon Wireless Networks further practice the step of transmitting a signal

 indicating at least a first duration and a bitmap. For example, in providing 5G wireless services,

 the Verizon Wireless Networks practice the step of transmitting a radio resource control ("RRC")

 reconfiguration message indicating at least a first duration of a control resource set ("CORESET")

 and a bitmap for monitoring symbols within a slot. On information and belief, this functionality

 requires the Verizon Wireless Networks in their entirely assembled form, as specifically

 provisioned and operated by Verizon.

            52.   The Verizon Wireless Networks further practice the foregoing method wherein the

 first duration is time duration of a control resource set (CORESET). For example, in providing

 5G wireless services, the Verizon Wireless Networks practice the foregoing method wherein the

 duration is a time duration of the CORESET in number of symbols. On information and belief,

 this functionality requires the Verizon Wireless Networks in their entirely assembled form, as

 specifically provisioned and operated by Verizon.

            53.   The Verizon Wireless Networks further practice the foregoing method wherein the

 bit map includes a set of bit positions, where each bit position has a value of one or zero and each

 bit position with the value of one indicates a starting Orthogonal Frequency Division Multiplexing

 (OFDM) symbol of a monitoring occasion of the CORESET within a slot. For example, in

 providing 5G wireless services, the Verizon Wireless Networks practice the foregoing method

 wherein the bitmap for monitoring symbols within a slot includes a set of bit positions each with

 a value of one or zero, with the most significant bit representing the first OFDM symbol in a slot,

 the second most significant bit representing the second OFDM symbol, and so on, and where each

 bit set to one indicates a starting OFDM symbol of a monitoring occasion of the CORESET within




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 the slot. On information and belief, this functionality requires the Verizon Wireless Networks in

 their entirely assembled form, as specifically provisioned and operated by Verizon.

            54.   The Verizon Wireless Networks further practice the step of not allowing to transmit

 the signal such that an interval between any two bit positions with the value of one in the set of bit

 positions in the bit map is smaller than the first duration. For example, in providing 5G wireless

 services, the Verizon Wireless Networks practice the step of not allowing transmission of a bitmap

 for monitoring symbols within a slot if the interval between any two bit positions with the value

 of one in the bitmap is smaller than the defined time duration of the CORESET in number of

 symbols. On information and belief, this functionality requires the Verizon Wireless Networks in

 their entirely assembled form, as specifically provisioned and operated by Verizon.

            55.   Accordingly, as illustrated above, the Verizon Wireless Networks directly infringe

 one or more claims of the '359 Patent. Verizon makes, uses, sells, offers for sale, exports, and/or

 imports, in this District and/or elsewhere in the United States, the Verizon Wireless Networks and

 thus directly infringes the '359 Patent.

            56.   Verizon has also indirectly infringed and continues to indirectly infringe the '359

 Patent, as provided in 35 U.S.C. § 271(b), including at least by inducing infringement by others,

 such as Verizon's customers and end-users, in this District and elsewhere in the United States,

 to use the Verizon Wireless Networks in manners that infringe the '359 Patent. For example,

 Verizon's customers and end-users directly infringe via their use of the Verizon Wireless Networks

 to access and use 4G and 5G wireless network technologies, infringing the '359 Patent. Verizon

 induces such direct infringement through its affirmative acts of making, using, selling, offering to

 sell, and/or importing the Verizon Wireless Networks, as well as by advertising its infringing

 wireless network technologies and providing instructions, documentation, and other information

 to its customers and end-users to encourage and teach them how to use the infringing wireless

 network technologies, including but not limited to by Verizon providing in-store and online


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 technical support, marketing materials, product manuals, advertisements, and other product

 documentation. Verizon performs these affirmative acts with knowledge of the '359 Patent and

 with the intent, or willful blindness, that the induced acts directly infringe the '359 Patent.

            57.    Verizon has also indirectly infringed and continues to indirectly infringe the '359

 Patent, as provided by 35 U.S.C. § 271(c), by contributing to direct infringement committed by

 others, such as Verizon's customers and end-users, in this District and elsewhere in the United

 States. Verizon's affirmative acts of selling and offering to sell wireless services in this District

 and elsewhere in the United States, and causing the Verizon Wireless Networks to be

 manufactured, used, sold, and offered for sale, contribute to Verizon's customers and end-users

 use of the Verizon Wireless Networks, such that the '359 Patent is directly infringed. The accused

 components in the Verizon Wireless Networks are material to the inventions claimed in the '359

 Patent, are not staple articles or commodities of commerce, have no substantial non-infringing

 uses, and are known by Verizon to be especially made or adapted for use in the infringement of

 the '359 Patent. Verizon performs these acts with knowledge of the '359 Patent and with the intent,

 or willful blindness, that they cause direct infringement of the '359 Patent.

            58.    Verizon's infringement of the '359 Patent has damaged and will continue to damage

 the Plaintiffs.

            59.    Verizon has had knowledge of the '359 Patent, and its infringement thereof, at least

 since February 1, 2023, when Plaintiffs provided Verizon access to claim charts evidencing

 Verizon's infringement of the '359 Patent. Verizon continues without license to make, use, sell,

 offer to sell, and/or import the Verizon Wireless Networks, willfully continuing Verizon's

 infringement.




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            COUNT II: DECLARATORY JUDGMENT THAT THE PLAINTIFFS HAVE
              COMPLIED WITH ETSI OBLIGATIONS AND COMPETITION LAW
                        AND THAT THE DEFENDANTS HAVE NOT

            60.   Plaintiffs incorporate by reference the preceding paragraphs as though fully set

 forth herein.

            61.   In an abundance of caution and to ensure their compliance with ETSI's IPR Policy,

 the Plaintiffs informed Verizon that they were prepared to grant Verizon a license, on FRAND

 terms, to the Plaintiffs' patents that relate to Verizon’s infringing Wireless Networks.

            62.   Not later than August 25, 2022, the Plaintiffs sent Verizon correspondence

 initiating the Plaintiff's good faith efforts to license their patents to Verizon on FRAND terms.

            63.   Over the following months, the Plaintiffs' representatives routinely corresponded

 with Verizon representatives on several occasions. The Plaintiffs' representatives provided, in

 good faith, materials concerning their patents and technical details evidencing the use of their

 patents, including the Patent-In-Suit. For example, not later than February 2, 2023, the Plaintiffs'

 representatives provided Verizon credentials to access an online data room containing numerous

 example claim charts evidencing the use of Plaintiffs' patents, including the Patent-In-Suit.

            64.   The Plaintiffs have provided Verizon multiple opportunities to license the Plaintiffs'

 patents on FRAND terms. Despite this, Verizon has not reciprocated Plaintiffs' good faith efforts.

 Verizon has instead declined to take a FRAND license, while continuing to operate the infringing

 Verizon Wireless Networks without a license to the Plaintiffs' patents.

            65.   The parties' FRAND license negotiations have been unsuccessful because Verizon

 has not negotiated in good faith. Verizon has failed to reciprocate the Plaintiffs' good faith efforts.

            66.   There are disputes between the Plaintiffs and Verizon concerning, among other

 things, whether Verizon is infringing the Patent-In-Suit, whether Verizon must take a license to

 the Patent-In-Suit, and what terms that license should include (whether FRAND terms or

 otherwise). The Plaintiffs have fully performed all obligations they may have under the FRAND


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 contract, but Verizon has refused to license Plaintiffs' patents on the FRAND terms the Plaintiffs

 have offered. Verizon also has not reciprocated the Plaintiffs' efforts to negotiate a FRAND license

 in good faith. There is a case or controversy of sufficient immediacy, reality, and ripeness to

 warrant the issuance of declaratory judgment.

            67.    Accordingly, the Plaintiffs request a declaratory judgment by this Court finding that

 Plaintiffs' actions in connection with their negotiations toward a FRAND license with Verizon

 were conducted by Plaintiffs in good faith, complied with the ETSI IPR Policy, and were consistent

 with competition law requirements.

            68.    Further, the Plaintiffs request a declaratory judgment by this Court finding that

 Verizon has not negotiated with Plaintiffs in good faith, has not complied with ETSI's IPR Policy,

 and has waived any rights it may have under the ETSI IPR Policy.

                                                DAMAGES

            69.    As a result of Defendants' acts of infringement, Plaintiffs have suffered actual and

 consequential damages. To the fullest extent permitted by law, Plaintiffs seek recovery of damages

 at least in the form of reasonable royalties.

                                     DEMAND FOR JURY TRIAL

            70.    Plaintiffs hereby demand a jury trial for all issues so triable.

                                         PRAYER FOR RELIEF

            WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

 favor ordering, finding, declaring, and/or awarding Plaintiffs relief as follows:

            A.     that Verizon infringes the Patent-In-Suit;

            B.     an award of damages resulting from Verizon's acts of infringement in accordance

 with 35 U.S.C. § 284;

            C.     that Verizon's infringement of the Patent-In-Suit is willful;

            D.     enhanced damages pursuant to 35 U.S.C. § 284;



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            E.   a declaration that Plaintiffs, in their history of negotiations with Verizon in regard

 to a global license to the Plaintiffs' patents, have negotiated in good faith and have complied with

 the ETSI IPR Policy and any applicable laws, and with competition law;

            F.   a declaration that Defendants have not negotiated in good faith, have not complied

 with the ETSI IPR Policy, and have waived any rights they may have under the ETSI IPR Policy;

            G.   that this is an exceptional case and awarding the Plaintiffs their reasonable

 attorneys' fees pursuant to 35 U.S.C. § 285;

            H.   an accounting for acts of infringement and supplemental damages for infringement

 and/or damages not presented at trial, including, without limitation, pre-judgment and post-

 judgment interest;

            I.   all equitable relief the Court deems just and proper; and

            J.   such other relief which may be requested and to which the Plaintiffs are entitled.



 DATED: October 19, 2023                             Respectfully submitted,

                                                     /s/ Robert Christopher Bunt

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